 Case 1:19-cv-01105-RGA Document 21 Filed 05/04/20 Page 1 of 2 PageID #: 533




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                 )
INTERACTIVE GAMES LLC,                           )
                                                 )
                        Plaintiff,               )
                                                 )    C.A. No. 19-1105-RGA
v.                                               )
                                                 )
                                                 )    JURY TRIAL DEMANDED
DRAFTKINGS, INC.,                                )
                                                 )
                  Defendant.                     )
                                                 )
                                                 )

            STIPULATION AND [PROPOSED] ORDER STAYING LITIGATION

        IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto,

subject to the approval of the Court, that the above-captioned action be stayed for ninety (90)

days to permit the parties to explore a resolution. The hearing scheduled for May 20, 2020 on

Defendant’s Motion to Dismiss shall be rescheduled for a date and time at the Court’s

convenience after the expiration of the stay.

Dated: May 4, 2020

McCARTER & ENGLISH, LLP                              MORRIS, NICHOLS, ARSHT & TUNNELL
                                                     LLP
/s/ Daniel M. Silver
Michael P. Kelly (#2295)                             /s/ Roger D. Smith
Daniel M. Silver (#4758)                             Rodger D. Smith (#3778)
Alexandra Joyce (#6423)                              1201 North Market Street
Renaissance Centre                                   P.O. Box 1347
405 N. King Street, 8th Floor                        Wilmington, DE 19899
Wilmington, DE 19801                                 (302) 658-9200
(302) 984-6300                                       rsmith@mnat.com
mkelly@mccarter.com
dsilver@mccarter.com                                 Attorney for Defendant DraftKings, Inc.
ajoyce@mccarter.com

Attorneys for Plaintiff
Interactive Games, LLC



ME1 33265859v.1
 Case 1:19-cv-01105-RGA Document 21 Filed 05/04/20 Page 2 of 2 PageID #: 534




        SO ORDERED this _____ day of May, 2020.



                           ____________________________________________
                           THE HONORABLE RICHARD G. ANDREWS




                                         -2-

ME1 33265859v.1
